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                         UNITED STATES COURT OF APPEALS
                              FOR THE SIXTH CIRCUIT
                               100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
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                           Filed: May 09, 2017




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              Re: Case No. 17-5381, Alan Lani v. Schiller Kessler & Gomez, PLC, et al
                  Originating Case No. : 3:16-cv-00018
             Case: 17-5381      Document: 21-1          Filed: 05/09/2017   Page: 2   (2 of 3)



Dear Sir or Madam,

  The Court issued the enclosed (Order/Opinion) today in this case.

                                     Sincerely yours,

                                     s/Connie A. Weiskittel
                                     Mediation Administrator


cc: Ms. Vanessa L. Armstrong
Enclosure

No mandate to issue
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                                          Case No. 17-5381

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                              ORDER



ALAN LANCE LANI, on behalf of Schiller, Kessler & Gomez, PLLC, a
Kentucky Professional Liability Company

              Plaintiff - Appellant

v.

SCHILLER KESSLER & GOMEZ, PLC, a Florida Professional
Limited Company; MARC SCHILLER; ANDREW KESSLER; MARCELO
GOMEZ; SCHILLER KESSLER & GOMEZ, PLLC

              Defendants - Appellees.



     In accordance with Rule 33, Rules of the Sixth Circuit, and upon consideration of the

parties' stipulation to dismiss,

     It is ORDERED that the case is dismissed pursuant to 42(b), Federal Rules

of Appellate Procedure.

                                         ENTERED PURSUANT TO RULE 33,
                                         RULES OF THE SIXTH CIRCUIT
                                         Deborah S. Hunt, Clerk


Issued: May 09, 2017
                                         ___________________________________
